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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE

BRYAN REPETTO,                                                           )
                                                                         )
                  Plaintiff,                                             )
                                                                         )
         v.                                                              )        Civil Action No. 08-CV-101
                                                                         )
ST. MATTHEW’S UNIVERSITY, INC., and                                      )
ST. MATTHEW’S UNIVERSITY (CAYMAN) LTD.                                   )
                                                                         )
                  Defendants.                                            )

           DEFENDANTS’ STATEMENT OF MATERIAL, UNDISPUTED FACTS
            IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT1

         SMU’s medical school program

         1.       St. Matthew’s University School of Medicine (“SMU”) is a private medical

school accredited by the Accreditation Commission on Colleges of Medicine. Amended

Complaint ¶ 3; Catalog, Plaintiff’s Initial Disclosures (relevant excerpts attached at Exhibit A) at

BR 239, 249.

         2.       SMU’s main campus is located in Grand Cayman; during the relevant time

period, SMU also maintained a campus in Windham, Maine. Amended Complaint ¶ 3.

         3.       SMU provides Basic Science and Clinical Science medical instruction. Catalog,

Plaintiff’s Initial Disclosures (Ex. A) at BR 249.

         4.       The Basic Science curriculum is divided into five semesters of instruction. Id.

         5.       Each calendar year encompasses three semesters of instruction: spring, summer,

and fall. Deposition of James Pringle (relevant excerpts attached at Exhibit B) at 14.

         6.       SMU students took all of their first, second, and third semester courses on the

Cayman campus (with the exception of the Spring 2005 semester when the Cayman campus was

1
 To the extent this statement of facts contains allegations made by Plaintiff, they are “undisputed” solely for
purposes of Defendants’ Motion for Summary Judgment.
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relocated to a temporary campus in Maine due to Hurricane Ivan), but could take fourth and fifth

semester courses on either the Cayman or Maine campuses. Id. at 16, 19, 25.

         7.     Pharmacology and Pathology II are “two very important” basic subjects taught in

fourth semester. Id. at 39-40; Plaintiff’s Disclosures (Ex. A) at BR 249.

         8.     Fourth semester students taking classes on the Maine campus were required to be

concurrently enrolled in a Masters of Health Services Administration at St. Joseph’s College

(“St. Joseph’s program”) for the state of Maine to allow a student to be in Maine. Pringle Dep.

(Ex. B) at 24-27; Defendant’s Initial Disclosures (relevant excerpts attached at Exhibit C) at

SMU 250.

         9.     Enrollment in the St. Joseph’s program rendered students eligible for federal

financial aid; students who took fourth semester classes on the Cayman campus were not eligible

for this aid. Pringle Dep. (Ex. B) at 22-27.

         10.    SMU’s Student Handbook provided, “Any student who has any combination of

failures and withdrawals totaling three in any individual course will be dismissed from the

University.” Student Handbook, Ex. 1 to Pringle Dep. (relevant excerpts attached at Exhibit D)

at 30.

         11.    Those who graduated from SMU were only eligible for licensure in States which

“approve” or do not “disapprove” SMU, since medical licensure is governed by the individual

state medical licensing authorities. See Plaintiff’s Disclosures (Ex. A) at BR 271.

         Repetto’s medical school applications and enrollment at SMU

         12.    In 2003, Plaintiff Bryan Repetto applied and was accepted to Ross University

School of Medicine. Deposition of Bryan Repetto (relevant excerpts attached at Exhibit E) at 6-

7.




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        13.       In December 2004, after spending one year at Ross, Repetto applied to SMU

because of Ross’s “high attrition rate,” “high stress level,” location on “a third world island,”

Dominica, and unsatisfactory academic program, and in part because he was “attracted to” the

St. Joseph’s program. Id. at 8, 11-13.

        14.       He did not apply to any other medical schools at that time. Id. at 13.

        15.       Repetto’s application to SMU included strong recommendations, reflected

graduate work that paralleled the medical curriculum, and noted relevant exposure to the health

care field including training as an emergency medical technician and experience as a surgical

orderly. Id. at 7, 14-15.

        16.       Repetto believes that he “was qualified to go into a medical school” and had “both

the innate ability and the knowledge” to succeed in medical school. Id. at 17, 147.

        17.       After SMU admitted him, Repetto chose to simultaneously enroll at SMU and in

the St. Joseph’s program. Id. at 9, 93, 137.

        18.       Repetto attended SMU from January 2005 until December 2006, when he was

academically dismissed for a combination of failures and withdrawals. Id. at 8, 19, 33.

        SMU’s approval status in California

        19.       When Repetto applied to and attended SMU, it was not approved by the Medical

Board of California, and SMU still is not approved by California. See California Report, Ex. 5 to

Pringle Dep. (relevant excerpts attached at Exhibit F) at 122; Repetto Dep. (Ex. E) at 37.

        20.       In Spring 2004, the Medical Board of California’s Division of Licensing sent a Site

Team to inspect SMU. Pringle Dep. (Ex. B) at 54-56; California Report, Ex. 5 to Pringle Dep.

(Ex. F) at 124.




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        21.     The Chief of the Licensing Program submitted a report on the site visit

(“California Report”) to the members of the Division of Licensing on January 24, 2005, noting

that pursuant to the governing regulation SMU had until February 14, 2005 to notify California

of any factual errors. California Report, Ex. 5 to Pringle Dep. (Ex. F) at 122-23.

        22.     SMU submitted a document on February 4, 2005 asserting that the California Site

Team Report contained specific factual inaccuracies (“SMU Rebuttal”). SMU Rebuttal, Ex. 4 to

Pringle Dep. (relevant excerpts attached at Exhibit G).

        Repetto’s decision to attend SMU was not based on any representation that SMU
        was approved or soon would be approved in California.

        23.     Prior to his enrolment at SMU Repetto knew that California had not approved

SMU. Repetto Dep. (Ex. E) at 19-20.

        24.     And none of the materials Repetto reviewed prior to his enrollment at SMU stated

that California had approved SMU. Id. at 17-18.

        25.     However, Repetto claims that J.P. Yates, a SMU admissions officer, “indicated

there was a strong likelihood” that California would approve SMU in the near future on the

Value MD website, a website where anyone could post comments regarding certain medical

schools, and on SMU’s internal online messaging board. Id. at 17-19.

        26.     Repetto “inferred that the school would likely be . . . approved” based on “the

catalog and . . . their website, photos of the campus, [and] everything else that was presented to

[him]” regarding the quality of instruction at SMU. Id. at 18.

        27.     But Repetto read no other statements suggesting that California would soon

approve SMU and had no substantive oral conversations with any SMU officials prior to his

enrollment. Id. at 18-19, 23-24.




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       After Repetto enrolled, various SMU instructors and administrators
       allegedly made statements regarding California approval.

       28.     First, Repetto asserts that “SMU’s Rebuttal to the California Report . . . [contains]

several [statements] that are factually inaccurate.” Id. at 47; see generally SMU Rebuttal, Ex. 4

to Pringle Dep. (Ex. G).

       29.     He says that a SMU administrator’s February 2005 email which provided a link to

the SMU Rebuttal “isn’t everything,” and that he primarily relied upon the statements in the

SMU Rebuttal rather than anything in the cover email. See Repetto Dep. (Ex. E) at 43.

       30.     Second, Dr. Jerry Thornton made the following statements in a Spring 2006 email

exchange with Repetto:

       “We, of course, do not believe the site visit was unbiased and the deficiencies noted in
       their report were either false or inaccurate.”

       “[O]ur next move is to invite Harvard administrative personnel down to SMU to review
       us and to report to California.”

       “We continue to work on this on a daily basis and have two legal . . . teams advising us.”

       “I have never seen California to be either reasonable or rational.”

Repetto Dep. (Ex. E) at 36-39; see generally Thornton Emails, Ex. 5 to Repetto Dep. (attached at

Exhibit H).

       31.     Third, “J.P. Yates [allegedly] made many representations that SMU is

aggressively challenging the decision of the California Medical Board[,] . . . that the contents of

the report issued by the California Medical Board were factually incorrect[, and that] the St.

Matthew’s rebuttal to the California Report [was accurate].” Repetto Dep. (Ex. E) at 49-50.

       32.     Fourth, Dr. Green allegedly stated during the Spring 2005 term that: action was

being taken by the administration through legal means; the decision was unwarranted; the

decision was based on factual inaccuracies; and the decision was unfair. Id. at 46-48.



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       33.      When asked whether he thought Dr. Green believed these statements, Repetto

responded, “I don’t know. I don’t believe it would have been possible for him to believe

anything else given his position in the school. . . . I believe he had to have known it was false.”

Id. at 47-48.

       34.      Fifth, Dr. Pringle stated that SMU was “still working on it,” and told Repetto that

“the primary reason SMU was disapproved was because the California Medical Board

overlooked the time that SMU was in existence in Belize [and thought Dr. Pringle had] . . .

cherry picked the students who met with the [Site Team].” Id. at 56.

       35.      Finally, Dr. Heller said something regarding California approval but Repetto

“do[es]n’t recall what he said.” Id. at 56-57.

       36.      Repetto does not remember any additional statements. Id. at 56-59.

       Repetto did not present evidence that any one of the alleged statements of
       SMU officials was material and false.

       37.      Repetto states, “I didn’t really see anything that SMU ever did that would

objectively show they were working on this on a . . . daily basis,” but admits that he has no

evidence showing that at the time the statements were made SMU was not working on California

approval on a daily basis. Id. at 37.

       38.      Similarly, Repetto states, “I haven’t seen anything that would indicate that SMU

actually has taken any legal means or any means through any administrative body to seek

approval in California,” but admits, “I can’t assure . . . that SMU has not sought legal action

against the California Medical Board.” Id. at 47, 49.

       39.      Repetto further states that he is not aware that “a team assembled from Harvard

was ever sent to Cayman,” but he admits that he does not “know . . . conclusively” that a team

was never invited. Id. at 36-37.



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       40.     And with respect to Dr. Pringle’s alleged statement, Repetto admits, “I don’t

understand what exactly he was getting at, and it doesn’t appear that the time in Belize was at all

material to the decision made by the medical board to deny SMU approval.” Id. at 57.

       No SMU official told Repetto that a future California approval would apply to
       current students, and Dr. Thornton in fact told him otherwise.

       41.     Repetto “inferred” from representations regarding “how erroneous the California

Report decision was” that any approval “would be retroactive.” Id. at 21-23.

       42.     He claims that SMU officials confirmed this inference by mentioning “the

instance of [another u]niversity being granted retroactive approval in their . . . efforts to gain

approval in California . . . on their own web board [and] . . . on sites like ValueMD,” and that

“J.P. Yates posted somewhere that retroactivity is a possibility.” Id. at 45, 58-59.

       43.     But Repetto does not have copies of any such statements. Id. at 132-33.

       44.     Repetto admits that no one expressly stated that California would approve SMU

and that the approval would apply to current students, id. at 17-18, and Repetto does not recall

anyone other than J.P. Yates even stating that retroactivity was a possibility, id. at 59.

       45.     He also concedes that Dr. Thornton, a SMU administrator, informed him as

follows in Spring 2006: “In the Summer of 2004, the Board in California changed another of

their rules. The rule change changed the language ‘a graduate is eligible to participate in a

residency as long as the school from which they graduated was approved by California by the

time that they graduated’ to ‘a graduate must have taken every course credit in a[] California

approved school.’ By this change, they wiped out the possibility of any graduate who has

completed even one credit in a non approved school of ever practicing in California.” Id. at 44-

45; see generally Thornton Emails, Ex. 5 to Repetto Dep. (Ex. H).




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       SMU officials warned Repetto not to rely on any optimistic statements.

       46.      From the time Repetto applied to SMU until he was dismissed, SMU’s catalog stated:

“It is strongly recommended that the students contact the authorities of any states where the

student is interested in practicing.” Catalog, Plaintiff’s Disclosures (Ex. A) at BR 271.

       47.      Repetto read the entire Catalog before applying to SMU. Repetto Dep. (Ex. E) at

17.

       48.      Repetto “recall[s] J.P. Yates occasionally posting things that said something along

the lines of – some kind of qualifying language like call or look up the rules yourself.” Id. at 54.

       49.      In fact, “J.P. Yates always – not always, but many times would qualify what he

would say with words like this is what we think, but don’t rely on it.” Id. at 55.

       50.      Repetto also remembers reading statements posted on Value MD along the lines

of “do not come to SMU until we are approved if you are only happy practicing in California.”

Id. at 54-55.

       In December 2006, Repetto was academically dismissed.

       51.      Repetto passed his first, second, and third semester courses at SMU. Id. at 25-26.

       52.      During the Spring 2006 term, Repetto began fourth semester courses on the

Maine campus: Genetics, Patient-Doctor IV, Pharmacology, and Pathology II. Id. at 28-29.

       53.      Repetto withdrew from both Pharmacology and Pathology II that term and did not

add additional courses to his schedule. Id. at 29.

       54.      During the Summer 2006 term, Repetto took Clinical Therapeutics,

Pharmacology, and Pathology II, and failed both Pharmacology and Pathology II. Id.

       55.      Repetto enrolled in Pharmacology and Pathology II for a third time during the

Fall 2006 term. Id.




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       56.     That Fall, Dr. Pringle directed the Pharmacology course, teaching some class

sessions and bringing in specialist instructors to teach other lectures, while Dr. Wilhoite taught

Pathology II with assistance from Dr. Pusch. Id. at 31, 66; Pringle Dep. (Ex. B) at 10-11.

       57.     Repetto failed both Pharmacology and Pathology II again that term and was

academically dismissed. Repetto Dep. (Ex. E) at 33, 109, 111.

       Repetto did not follow the Grievance Committee procedures.

       58.     Repetto’s dismissal letter stated: “Students have the option at the end of each

semester to challenge the courses failed that semester with the Grievance Committee.” Id. at 33,

115.

       59.     Repetto knew that a section of the Student Handbook addressed the Grievance

Committee process and laid out the following first three steps: (1) verbal petition to the

professor; (2) written petition to the professor; and (3) petition to the Grievance Committee. Id.

at 112-13; see Student Handbook, Ex. 1 to Pringle Dep. (Ex. D) at 43-45.

       60.     Repetto understood the dismissal letter to refer to the same Grievance Committee

discussed in the Student Handbook. Repetto Dep. (Ex. E) at 115.

       61.     The dismissal letter also stated, “Please contact Dr. Nasser . . . to discuss the

option and the procedures involved.” Id.

       62.     Repetto attempted to contact Dr. Nasser, a SMU administrator, and emailed other

administrators requesting more information regarding readmission procedures. Id. at 33-34; 127-

28.

       63.     In November, Dr. Green, another SMU administrator, responded and instructed

Repetto to submit a grievance to the Grievance Committee. Id. at 118-19.




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       64.     Yet he did not ask Dr. Pringle to change his Fall 2006 Pharmacology grade either

orally or in writing, nor did Repetto ask Dr. Wilhoite to change his Fall 2006 Pathology II grade

either orally or in writing. Id. at 110-11, 113.

       65.     Repetto did not write out his grievance or retrieve the grievance form available

through the Student Affairs office in December 2005 or January 2006. Id. at 111-13; see Appeal

for Change of Grade Cover Sheet, Ex. 10 to Repetto Dep. (attached at Exhibit I).

       66.     When Repetto still had not had not begun the Grievance Committee procedure by

January 2007 yet continued to email administrators regarding a general appeal of his dismissal, a

SMU administrator emailed Repetto and reaffirmed that he had been dismissed pursuant to the

Student Handbook based on his recent failing grades; the administrator added a few personal

observations regarding Repetto’s likelihood of success in medical school but did not in any way

guarantee or refer to an “Appeals Committee.” Plaintiff’s Initial Disclosures (Ex. A) at BR 358-

59.

       67.     Repetto was told in June 2007 that he could still pursue a grievance but did not do

so. Repetto Dep. (Ex. E) at 113-14.

       68.     He in fact never submitted a grievance. Id. 111-12.

       SMU did not guarantee Repetto an “Appeals Committee” review.

       69.     Repetto believes that SMU guaranteed students review by a separate “Appeals

Committee” which would allow students to appeal a dismissal on the ground that even though

they deserved to fail a particular class and therefore could not succeed in a Grievance Committee

challenge, they had served the university well and deserved another chance. Id. at 116-18.

       70.     He points to one line of the Student Handbook which reads: “In all cases of

academic dismissal, students are not eligible for re-admission unless the student is successful in




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an Appeals Committee review”; the Student Handbook makes no other reference to an appeals

committee other than the Grievance Committee. Id. at 117; Student Handbook, Ex. 1 to Pringle

Dep. (Ex. D) at 30.

       71.     Repetto thinks that Dr. Pringle impliedly guaranteed him this procedure when he

said that he would support Repetto’s attempt at readmission if Repetto left SMU, took courses at

another institution, did well in those courses, and reapplied to SMU in a future term. Repetto

Dep. (Ex. E) at 109, 118.

       72.     Repetto also testified that Dr. Green made a representation regarding Appeals

Committee review, but when presented with the email in question Repetto admitted that Dr.

Green in fact referred him to the Grievance Committee. Id. at 118-19.

       73.     Repetto points to no other statement, oral or written, in any way referring to an

“Appeals Committee” as opposed to Grievance Committee procedure. Id. at 117-19.

       74.     No “Appeals Committee” exists; instead a student appealing an academic

dismissal must use the Grievance Committee procedure. Pringle Dep. (Ex. B) at 51.

       Repetto would not have succeeded in a Grievance Committee review.

       75.     Repetto states that he would have presented the following evidence to the

Grievance Committee: relatively high scores on the Pathology II SHELF examination (a

national standardized exam), a score on the Pharmacology SHELF examination that was not

lower than the average, service as a Patient-Doctor IV TA, adherence to the school’s general

policies, continued enrollment in the St. Joseph’s program, an upsetting meeting with Dr. Pringle

before one of the eight examinations in Pathology II during the Fall 2006 semester, possession of

a bachelor’s degree, a good attendance record, and ultimately graduating from the St. Joseph’s

program with a 3.7 GPA. Repetto Dep. (Ex. E) at 89-90, 119-20.




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          76.    However, Repetto’s SHELF examination scores were already factored into his

Pathology II and Pharmacology grades as ten percent of the total grade. Id. at 123-26.

          77.    Moreover, Repetto did just as well on the SHELF exams during the Summer 2006

semester, yet still failed both courses that term as well. Id. at 124-27.

          78.    Also, Repetto admits that serving as a TA for the Patient-Doctor IV class “[o]n its

own doesn’t demonstrate mastery of” Pharmacology and Pathology II subject matter. Id. at 121-

22.

          79.    And Dr. Pringle testified that the only requirements that a student had to meet to

be a TA were to “pass the course” and “ha[ve] a need for money,” and that the selection process

was “[n]o more rigorous than that.” Pringle Dep. (Ex. B) at 63.

          SMU made statements regarding the quality of instruction at SMU.2

          80.    The SMU Rebuttal contains the following statements:

         “There was no change in controlling ownership when the basic science campus was

          moved from Belize to the Cayman Islands in May 2002.” SMU Rebuttal, Ex. 4 to

          Pringle Dep. (Ex. G) at 4; see also Repetto Dep. (Ex. E) at 61.

         “Of the 18 teachers who teach the three basic science courses in Windham, Maine only

          three are retired. Fifteen are continuing active teaching, research, and medical practices.”

          SMU Rebuttal, Ex. 4 to Pringle Dep. (Ex. G) at 17; see also Repetto Dep. (Ex. E) at 64,

          67, 102.




2
  Repetto alleges that “SMU faculty members routinely relied on ‘review’ materials, such as
commercial study guides, rather than academic textbooks, in teaching their classes,” Amended
Complaint at ¶ 74, but does not allege or assert any statement by SMU to the contrary.
Moreover, Repetto admits that only one course, second semester Physiology, relied primarily
upon review materials, and it only did so after the original professor for the course was removed.
Repetto Dep. (Ex. E) at 139-40.


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      “SMU[’ s extended pathway] program is a rarely used, purely internal program wherein,

       upon approval from the Dean, students with exceptional physical or learning disabilities

       (such as blindness, deafness or documented learning disabilities) are allowed to extend

       their basic science coursework over six semesters, rather than the usual five.” SMU

       Rebuttal, Ex. 4 to Pringle Dep. (Ex. G) at 7; see also Repetto Dep. (Ex. E) at 73, 81-82.

      “Entrance and exit interviews, as well as ‘debt management’ presentations by the

       Director of Financial Aid each semester directly educate and inform students regarding

       their financial aid issues.” SMU Rebuttal, Ex. 4 to Pringle Dep. (Ex. G) at 7; see also

       Repetto Dep. (Ex. E) at 77.

      “Grand Cayman and Maine have the same books, syllabi, exams, [and] grading policy.”

       SMU Rebuttal, Ex. 4 to Pringle Dep. (Ex. G) at 15; see also id. at 19; Repetto Dep. (Ex.

       E) at 83.

      “Departmental meetings occur at least once per semester via real time video

       teleconferencing.” SMU Rebuttal, Ex. 4 to Pringle Dep. (Ex. G) at 15; see also Repetto

       Dep. (Ex. E) at 84-85.

      “Students are not counseled to withdraw from a course.” SMU Rebuttal, Ex. 4 to Pringle

       Dep. (Ex. G) at 15; see also Repetto Dep. (Ex. E) at 99.

      “St. Matthew’s University does engage in research.” SMU Rebuttal, Ex. 4 to Pringle

       Dep. (Ex. G) at 13; see also id. at 18; Repetto Dep. (Ex. E) at 101-03.

       81.     Additionally, Repetto states that he asked Dr. Pringle in “either the spring or the

summer of 2006 if it would be a possibility for [him] to transfer back to the Cayman campus and

. . . was told no.” Repetto Dep. (Ex. E) at 95, 133.




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       Repetto admits that several of these alleged statements are not material.

       82.     Repetto “do[es]n’t know if” understanding what he alleges to be the truth about

SMU’s ownership “would have been enough for [him] to leave the school.” Id. at 64.

       83.     Repetto “can’t say that [his] decision to stay at SMU was contingent on [his]

knowledge of an extended pathway.” Id. at 77.

       84.     Repetto states that he would not have left SMU “on the basis of [the withdrawal

advice] statement alone.” Id. at 101.

       85.     Repetto would not have left SMU in 2005 if he had known that he would not

receive a student loan entry or exit interview. Id. at 79-80.

       86.     The existence of debt management presentations would not have changed his

behavior in any way. Id. at 81.

       87.     Moreover, Repetto studied as hard as he could and could not pass Pharmacology

and Pathology II even without the additional time burden of a research project. Id. at 104.

       88.     And Ross University had only limited research opportunities as well. Id. at 105.

       89.     Repetto claims that statements as to the similarity of courses on the Maine and

Cayman campuses are material because he would have stayed in Cayman and not gone to the

Maine campus had he known that the courses on the Maine campus were more difficult and

graded less generously. Id. at 92-94, 97-98.

       90.     While he first admitted that he needed the federal financial aid which he could

only obtain if he was on the Maine campus for fourth semester classes, Repetto later stated that

he “could have used credit cards” to pay tuition. Id. at 93-94, 138-39.

       Repetto cannot demonstrate that these statements are false.

       91.     Repetto does not have any exceptional physical or learning disabilities. Id. at 83.




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         92.   Nevertheless, while the “standard curriculum” required students to pass Genetics,

Patient-Doctor IV, Pathology II, and Pharmacology in one semester, Repetto was permitted to

take Genetics and Patient-Doctor IV alone, attempt to pass Pharmacology and Pathology II while

only taking a two-credit course, and then make another attempt to pass Pharmacology and

Pathology II without taking any other courses at SMU. Id. at 73-76.

         93.   Additionally, Repetto in fact signed a “loan entrance and exit interview form”

which contained information on borrower rights and responsibilities, and he admits that his

signature indicates his acknowledgement of reading and understanding that information. Id. at

77-79.

         94.   Repetto claims that “news reports from Belize . . . say that there was essentially

new ownership, there was a hostile takeover of the school in Belize,” but he has not produced

any supporting evidence. Id. at 61-62.

         95.   Similarly, Repetto testified that “SMU personnel . . . in the student affairs office

or Dr. Pringle would advise students to withdraw from classes [routinely],” but provides no

evidence of this fact aside from advice given him. Id. at 99-100.

         96.   And Repetto asserts that “all of the faculty members who could even be

considered full-time on the Windham campus were retired” and “on the Maine campus . . . the

overwhelming majority [including Dr. Pringle] were part-time or retired or combination of both,”

but he provides no evidence that faculty members were not continuing active teaching, research,

and medical practices. Id. at 67, 102-04.

         97.   Dr. Pringle testified that the Maine professors and Cayman professors met

through videoconferencing, audio hookup, or email and “put together the subjects, not

necessarily, but pretty close to the same order,” that “a big effort was to coordinate the teaching




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between the two places,” and that “[t]he exams were very often exactly the same.” Pringle Dep.

(Ex. B) at 30-32.

       98.     Repetto does not believe that faculty members used teleconferencing equipment

but admits, “I have no proof” and “that’s something that I can’t comment to.” Repetto Dep. (Ex.

E) at 84-85.

       99.     He also admits that “[t]he books may have been the same.” Id. at 83.

       100.    But Repetto claims that the Cayman and Maine courses had “syllab[i] subject to

constant revision,” “exam questions written by the faculty resident [on each campus],” different

exam frequency, different grading polices in that “extra credit points were not given universally

and all exams did not have equal weight,” and the SHELF exams “were subject to different use,

usage, and grading on each campus.” Id. at 83-84.

       101.    However, Repetto’s only knowledge of the Cayman courses comes from “other

students” with whom he communicated directly by instant message or email, other students who

in turn “kept in closer touch with students who remained in Cayman” (whom Repetto calls

“secondhand sources”), a Cayman exam schedule that was on the SMU website, and a Cayman

syllabus that was “posted online somewhere”; and Repetto cannot produce these materials

because he did not save the instant messages or emails and “cannot recall” where the syllabus

was posted. Id. at 83-92, 95-96.

       102.    And when asked whether these statements about the Cayman courses could have

been rumors, Repetto responded, “[A]nything is possible. But I do not believe these to be

rumors.” Id. at 91.

       103.    Repetto’s assertion that students were permitted to transfer back to Cayman

despite continued enrollment in the St. Joseph’s program and without losing federal funding is




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similarly based on “conversations with other people who were friends with those . . .

individuals.” Id. at 134-35.3

        104.    During the Spring 2006 term Repetto even wrote, “I do believe SMU provides a

solid medical education,” “I agree that SMU is not fairly evaluated,” and “I have complete

confidence in the education I am receiving at SMU”; but now he asserts that he did not believe

these statements when he wrote them. Id. at 41-43.

        Repetto never told any SMU official that he was thinking about leaving.

        105.    Repetto did not express any unhappiness or thoughts of leaving SMU at the time

Dr. Green made the alleged statements regarding California approval. Id. at 48.

        106.    Repetto states that he expressed concern “that maybe [he] might want to leave”

because he struggled at the outset of the Spring 2006 term to Dr. Pringle in March 2006, but

decided to stay once Dr. Pringle assured him that it would not be “a big deal” to withdraw from

Pathology II and Pharmacology and reattempt them the following semester. Id. at 105-06, 131.

        107.    Repetto even affirmatively stated that he was happy with SMU in his Spring 2006

emails with Dr. Thornton, although he now claims to have been lying because, “I didn’t want to .

. . ask information in such a way that [Dr. Thornton] would be concerned that if he didn’t answer

it in a truthful manner, I would suddenly leave” and thus “worded . . . it such that . . . it appears I

. . . was not interested in leaving.” Id. at 41-42.




3
  Repetto states that the courses on the Maine campus were more difficult, and that he would
have stayed on the Cayman campus rather than coming up to Maine if he had known that fact at
the time. Id. at 97-98.



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       Repetto would have returned to SMU upon readmission.

       108.    Repetto states that despite knowing everything he now knows regarding

California approval and the quality of instruction at SMU he still would have returned to SMU in

January 2007 if he had been permitted to do so. Id. at 132.

       Had he graduated, Repetto could have sought licensure.

       109.    Repetto hoped to practice medicine in California, but practicing in California was

never “set in stone” and that was not the only place Repetto wanted to practice. Id. at 2-3.

       St. Matthew’s University (Cayman) Ltd. owns SMU.

       110.    St. Matthew’s University (Cayman) Ltd. owns SMU, and Repetto’s allegations all

involve interactions with and alleged conduct by employees of St. Matthew’s University

(Cayman) Ltd. See Affidavit of J. Marvin (attached at Exhibit J).




Dated: October 21, 2008

                                        ST. MATTHEW’S UNIVERSITY, INC., and
                                        ST. MATTHEW’S UNIVERSITY (CAYMAN) LTD.



                                        /s/ Gail Elise Cornwall
                                        ___________________
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                                CERTIFICATE OF SERVICE

I, Gail Elise Cornwall, Esq., hereby certify that on October 21, 2008, I electronically filed
Defendants’ Statement of Material, Undisputed Facts in Support of Their Motion for
Summary Judgment with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

         Barbara L. Goodwin, Esq.
         Murray Plumb & Murray
         PO Box 9785
         Portland, ME 04104-5085
         (207) 773-5651

Dated: October 21, 2008



                                            /s/ Gail Elise Cornwall
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